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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                         Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                        1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                        Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

                        JOINT STATUS REPORT ON DISCOVERY

        The parties hereby jointly submit this Status Report on Discovery pursuant to Court Order.

(See Dkt. 179).

A.      PROGRESS ON DISCOVERY

        1.     Fact discovery has been completed as to the principal parties.

        2.     Discovery remains stayed as to Third-Party Defendant First Midwest Bank pending

disposition of First Midwest Bank’s Motion to Dismiss Padilla’s First Amended Third-Party

Complaint. (See Dkt. 141.)
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B.      EXPERT WITNESS DISCOVERY

        Martha Padilla disclosed two expert witnesses. Defendant Federal Deposit Insurance

Corporation, as Receiver for Washington Federal Bank for Savings (“FDIC-R”) filed a Motion to

Strike the Expert Report of Expert Randall Hughes on January 5, 2022. (Dkt. 183.) Plaintiff

JPMorgan Chase Bank, N.A. also has filed a Motion to Strike this report and joined the FDIC-R’s

Motion. (Dkt. 186.) Pursuant to an agreed briefing schedule, Padilla’s Response to the Motions

to Strike is due February 9, 2022, and replies by FDIC-R and Chase are due February 23, 2022.

(Dkt. 185.)

        No expert rebuttal witnesses were disclosed by the December 31, 2022 deadline, and there

is no outstanding expert discovery.

C.      PROGRESS ON SETTLEMENT DISCUSSIONS.

        There has not been any significant progress on settlement since the settlement conference

on May 13, 2021.

D.      ANY OTHER ISSUES TO REPORT TO THE COURT.

        First Midwest Bank’s Motion to Dismiss Padilla’s First Amended Third-Party Complaint,

Chase’s Motion for Summary Judgment as to the First Affirmative Defense of Defendant Martha

Padilla, and FDIC-R’s Motion for Summary Judgment as to the Second Amended Counterclaim

of Defendant Martha Padilla are all fully briefed.




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        SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:

Date: January 27, 2022

PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
NATIONAL ASSOCIATION           INSURANCE CORPORATION,
                               AS RECEIVER FOR WASHINGTON
                               FEDERAL BANK FOR SAVINGS

/s/ Shana A. Shifrin                           /s/ Jordana E. Thomadsen
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                                               Telephone: (312) 382-1600
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/s/ Peter M. King                              /s/ Rick Rein
Peter M. King (pking@kingholloway.com)         Eric S. Rein (rrein@hmblaw.com)
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DEFENDANT MARTHA PADILLA                       THIRD-PARTY DEFENDANT FIRST
                                               MIDWEST BANK

/s/ Joseph R. Ziccardi                         /s/ Adam B. Rome
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